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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



K.R., individually and on behalf of M.J., a child with a
disability.                                                         COMPLAINT


                      Plaintiffs,
                                                                    Case No.
       -against-

NEW YORK CITY DEPARTMENT OF EDUCATION,

                      Defendant.


       K.R., individually and on behalf of M.J., a child with a disability, by and through

her attorneys, CUDDY LAW FIRM, PLLC, for the complaint hereby alleges:

1.     This is an action brought pursuant to the fee-shifting provisions of the Individuals

       with Disabilities Education Act (IDEA), 20 U.S.C. § 1415(i)(3).

2.     Plaintiff K.R. and M.J. reside in the County of Kings, State of New York.

3.     M.J. is a child with a disability as defined by IDEA, 20 U.S.C. § 1401 (3)(A).

4.     K.R. is the parent of M.J. as defined by IDEA 20 U.S.C. § 1401(23).

5.     Defendant New York City Department of Education (Department) is a local

       educational agency as defined by IDEA, 20 U.S.C. §1401(19), and, as such, is

       obligated to provide educational and related programs and services to its students

       in compliance with the applicable federal and state statutes, regulations, and the

       U.S. Constitution, and is subject to the requirements of 20 U.S.C. § 1400 et seq.,

       and the regulations promulgated thereunder.




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                                JURISDICTION AND VENUE

6.    Jurisdiction is predicated upon 28 U.S.C. § 1331, which provides the district

      courts with original jurisdiction over all civil actions arising under the laws of the

      United States, and upon the fee-shifting provision of IDEA, 20 U.S.C. §

      1415(i)(3)(A), which provides that the district courts of the United States shall

      have jurisdiction of actions brought under section 1415(i)(3) without regard to the

      amount in controversy.

7.    Venue is predicated upon 28 U.S.C. § 1391(b)(1) based upon the residence of the

      defendant.

                                 FACTUAL BACKGROUND

8.    On September 11, 2017, plaintiff K.R. initiated an impartial due process hearing

      on behalf of her child M.J., alleging a denial of a free appropriate public

      education (FAPE) and seeking various relief.

9.    In the request for an impartial due process hearing, plaintiff requested pendency

      in the form of a 6:1:3 student:staff ratio special class in a nonpublic day school,

      individual counseling services twice weekly, group counseling once per week,

      monthly parent counseling and training, individual speech and language therapy

      (“SLT”) once per week, group SLT once per week, and an individual service, full-

      time crisis management paraprofessional.

10.   This case was assigned Impartial Hearing Office Case Number 169438.

11.   On October 5, 2017, plaintiff filed a corrected hearing request with the Impartial

      Hearing Office to update M.J.’s current school information.




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12.   An impartial due process hearing was held for K.R. and M.J. on October 24,

      2017, February 22, 2018, March 1, 2018, March 22, 2018 (telephonic), April 26,

      2018, and July 11, 2018.

13.   A pendency hearing was held on October 24, 2017.

14.   On November 1, 2017, the IHO issued a pendency order, providing for M.J. to be

      re-enrolled at Quality Services for the Autism Community School (“QSAC”).

15.   On December 1, 2017, the plaintiff, through her attorney, requested a second

      Order on Pendency to reflect that QSAC was unable to enroll M.J.

16.   The IHO issued an updated pendency order on December 14, 2017, ordering

      M.J.’s placement in a state-approved nonpublic day school.

17.   After a pendency placement could not be identified for M.J., a second pendency

      hearing date was scheduled for February 22, 2018. On this date, the plaintiff,

      K.R., through her attorney, entered documentary exhibits into evidence (A-E, H-J,

      M, N). The Impartial Hearing Officer (“IHO”) entered IHO Exhibit I into

      evidence. The plaintiff, K.R., presented testimony as to the contested pendency

      issues before the IHO. The Department’s representative at hearing requested the

      opportunity to present a rebuttal witness.

18.   On February 26, 2018, the plaintiff, through her attorney, submitted a

      memorandum of law regarding IHO authority in granting the relief requested by

      the parent, per the IHO’s request.

19.   A third day of pendency hearing was held on March 1, 2018. The Department’s

      representative did not present a rebuttal witness, but the plaintiff presented an

      additional witness from a proposed pendency placement school.




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20.   On March 6, 2018, the IHO issued a final pendency order providing that the

      plaintiff’s proposed school placement is substantially similar to the previously

      ordered pendency placement and that M.J. should be enrolled in the school if the

      Department changes M.J.’s disability classification. In the alternative, if the

      disability classification is not revised, the IHO ordered that the Department

      identify a nonpublic school for an extended school year placement for M.J. that

      includes a special class with a 6:1+3 student:staff ratio, individual and group

      counseling, individual and group speech language therapy, parent training and

      counseling, and an individual full-time crisis management paraprofessional.

21.   The plaintiff, through her attorney, filed a second request for due process hearing

      on March 19, 2018; the plaintiff requested consolidation with case number

      169438.

22.   The second request for due process hearing was assigned Impartial Hearing

      Office Case Number 172870.

23.   On March 23, 2018, the IHO issued an order of consolidation, consolidating both

      cases as Impartial Hearing Office Case Number 169438.

24.   On April 26, 2018, the plaintiff entered two additional documents into evidence

      (P-Q).

25.   During the July 11, 2018, hearing date, the plaintiff entered additional documents

      into evidence (O, R-T). The Department entered documents into evidence (1, 3-6,

      9, 11-18). The plaintiff presented testimonial evidence of K.R. as to M.J.’s

      current functional abilities and emotional/behavioral issues. The plaintiff also




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      presented testimony from a clinical psychologist as to expert recommendations

      for M.J.’s academic program and as to his testing and assessments of M.J.

26.   On July 31, 2018, the plaintiff submitted a written closing brief to the IHO and to

      the Department’s representative at hearing.

27.   Although the Department did not present witnesses, it did not concede that a free

      appropriate public education (“FAPE”) had not been provided to M.J.

28.   On October 5, 2018, the IHO issued a findings of fact and decision (“FOFD”).

      The FOFD provided that the Department failed to provide M.J. with a free

      appropriate public education during the 2017/18 and 2018/19 school years. As

      relief, the IHO ordered that the Department fund one hundred and seventy (170)

      hours of individual tutoring at $110.00 per hour; a bank of counseling services

      and speech and language services to be equal to the sessions the Department

      failed to provide when M.J. was not enrolled in a school; a MetroCard for the

      plaintiff’s transportation to and from the tutoring and related services if they are

      provided outside of the home; continued placement at M.J.’s state-approved

      nonpublic school; and that the Department will convene and develop an IEP for

      M.J. consistent with the provisions in the FOFD.

29.   On December 28, 2018, plaintiff, through her counsel, submitted a demand for

      attorney’s fees to defendant’s Special Education Unit Office of General Counsel.

30.   As of the date of this complaint, defendant has failed to settle the attorney’s fees

      in this matter.




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                                    FIRST CAUSE OF ACTION

31.      Plaintiffs repeat and reallege paragraphs 1 through 30 as if more fully set forth

         herein.

32.      Plaintiff K.R. initiated an impartial hearing on behalf of M.J.

33.      Plaintiff K.R. prevailed at the impartial hearing by obtaining a Finding of Facts

         and Decision from the impartial hearing officer ordering the relief demanded by

         plaintiff K.R.

34.      Plaintiff K.R. having prevailed in the underlying proceedings hereby demands

         reasonable attorney’s fees and costs pursuant to 20 U.S.C. § 1415(i)(3).



WHEREFORE, plaintiffs respectfully request that this Court:

      a. Assume jurisdiction over this action;

      b. Award to plaintiff K.R. the costs, expenses and attorney’s fees for the

         administrative proceedings in the matter of M.J. pursuant to 20 U.S.C. § 1415;

      c. Award to the plaintiffs the costs, expenses and attorney’s fees of this action

         pursuant to 20 U.S.C. § 1415; and

      d. Grant such other and further relief as the Court deems just and proper.




                                     [intentionally blank]




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Dated: Auburn, New York
       March 20, 2020
                                              Yours etc.,


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